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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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In the Matter of the Petition of GRACE *
OCEAN PRIVATE LIMITED, et al., for *
Exoneration from or Limitation of IN ADMIRALTY
Liability *

Civ. No. 24-00941-JKB

*

ORDER
The Court has reviewed the Consented To Motion to Amend the Protective Order (the
“Motion”) submitted by Claimant Ace American Insurance Company (“Ace”). (ECF No. 463.)
Based on that review, the Court concludes that there is good cause to amend the operative
protective order (Case Management Order No. 4, ECF No. 440). The proposed amended
protective order (ECF No. 465) appropriately balances the parties’ and the National Transportation
Safety Board’s needs for confidentiality with the public’s right of access in this case.
Accordingly, it is ORDERED that:
1. Ace’s Motion (ECF No. 463) is GRANTED; and
2. A separate amended protective order, which will be denominated as Case Management

Order No. 5, SHALL ISSUE.

DATED this 7 day of January, 2025.
BY THE COURT:

Dame BK Bade

James K. Bredar
United States District Judge

